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                         UNITED STATES DISTRICT COURT

                         EASTERN DISTRICT OF VIRGINIA
                             ALEXANDRIA DIVISION

___________________________________________
RENEE KNAPTON
INDIVIDUALLY AND ON BEHALF OF
ALL OTHERS SIMILARLY SITUATED,

                                  Plaintiffs,

                                                              Trial by Jury
                                                              Demanded

v.                                                      Civil Action No. ____________

PROFESSIONAL BUREAU OF
COLLECTIONS OF MARYLAND, INC

                                  Defendant.

________________________________________________              February 15, 2018


     Class Action Complaint for Violations of the Fair Debt Collection Practices Act

                                     I. Introduction

         1.    Renee Knapton brings this suit on behalf herself and all those

similarly situated against Professional Bureau of Collections of Maryland, Inc., a

debt collector, on account of its misrepresentation of and non-compliance with the

Fair Debt Collection Practices Act (“FDCPA”), 15 U.S.C. § 1692, et seq., and federal

student loan law.

                                     II. Jurisdiction

         2.     Jurisdiction in this Court is proper under 15 U.S.C. § 1692k(d) and 28
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U.S.C. § 1331.

      3.      This Court has jurisdiction over the defendant and venue in this Court

is proper, because the acts complained of occurred in this state and because the

Plaintiff and the Class Members are residents of Virginia.

                                       III. Parties

      4.      Renee Knapton is a natural person, who at the time of the actions

alleged in this Complaint, resided in Virginia.

      5.          The defendant Professional Bureau of Collections of Maryland, Inc.

(“PBCM”) is a Maryland Corporation registered to transact business in the

Commonwealth of Virginia, and is engaged in the collection of consumer debts. The

Defendant uses instrumentalities of interstate commerce in the collection of debts.

It regularly collects debts from consumers located across the Commonwealth of

Virginia. At all times relevant hereto, Defendant was a “debt collector” as that term

is defined by the FDCPA.

                                 IV. Factual Allegations

      6.      Plaintiff Knapton is a “consumer” as that term is defined by FDCPA §

1692a(3).

      7.      Plaintiff Knapton was a debtor with a debt that was placed into

default status.

      8.      Plaintiff Knapton’s debt was “a debt” as that term is defined by the

FDCPA.

      9.     After Knapton’s debt was placed into default status, it was assigned to
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PBCM for collection purposes.

      10.     PBCM sent letters to Plaintiff Knapton and the class members seeking

to have them pay the defaulted debts. A copy of the letter sent to Plaintiff Knapton

(the “Letter”) is attached hereto as Exhibit A.

      11.     The Letter was PBCM’s initial communication with Plaintiff.

      12.     The Letter was directed to Plaintiff at a Virginia address.

      13.     Upon information and belief, this form of letter was PBCM’s initial

communication with the other members of the Class.

      14.     The Letter advises Plaintiff Knapton and the class members, in the

very first paragraph, that “if you are represented by an attorney in regards to this

debt, print his or her name, address and phone number on the stub of this letter

and return it to our branch office located at 11050 Olson Drive, Suite 240, Rancho

Cordova, CA 95670”.

      15. The letter also indicates that the account balance for the debt is

$26,148.51.

      16. The letter does not include any designation that the amount of the

claimed debt may change as interest or other fees accrue.

      17.     The least sophisticated consumer would believe that the account

balance shown was the amount of the debt that they had to resolve, and that this

sum would not increase.

      18. The lease sophisticated consumer would also believe that in order to

advise Defendant that they had an attorney, they had to advise the Defendant in
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writing, in the fashion directed by Defendant.

      19. In fact, under the FDCPA, there is no requirement that a consumer notify

a debt collector in writing that the consumer has an attorney. All that is required is

that the debt collector is notified in some fashion of the attorney and the means of

contacting said attorney.

      20.    The least sophisticated consumer would further believe that, given the

name of the Defendant (Professional Bureau of Collections of Maryland, Inc.), that

the Defendant was affiliated with the government of the State of Maryland.

      21. In fact, Defendant is not affiliated with the government of the State of

Maryland.

      22.    PBCM sent the Letter to Knapton on or about October 2, 2017.

      23.    Knapton received the Letter shortly thereafter.

      24.    Knapton read the Letter shortly after receiving it.

      25.    The prohibition against falsely implying an affiliation or authorization

of a state or federal government in connection with an attempt to collect a debt, as

found in 15 USC §1692e, are required so as to not improperly cause consumers to

think that the government has condoned or approved the debt collectors actions,

and so as to not frighten a consumer into paying a debt that they may otherwise

dispute.

      26. The requirement that a debt collector must cease contacting a consumer

once they have knowledge of an attorney’s representation is important so that

procedural hurdles are not placed in front of a consumer, which may cause the
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consumer to discuss and settle a debt that is otherwise being handled and disputed

by their attorneys.

      27. The requirement that a debt collector accurately state the balance of the

debt, and any increase that may occur with the debt due to interest or other

charges, is important to ensure that a debt collector does not get a consumer to pay

a claimed amount, and then come back and demand additional sums. It allows the

consumer to know the full amount of what is being sought and settle that full

amount at one time.

      28.    By failing accurately and effectively to convey to Plaintiff and the class

members their rights under the FDCPA, Defendant has harmed Plaintiffs and the

class members.

      29.    The acts and omissions of Defendant described above injured Plaintiff

and the class members in a concrete way. As a result of these acts and omissions,

Plaintiff and the class members were subjected to threats and collection attempts

from Defendant, which contained material misrepresentations that deceptively and

misleadingly advised from Plaintiff and the class members that 1) the debt collector

was affiliated with a state government; 2) the consumer had to write to the debt

collector, in a specified manner, in order to notify the debt collector that the

consumer had an attorney; and 3) the account balance was static and not subject to

change. In other words, Plaintiff and the class members suffered an informational

injury as a result of being deprived of information to which they were legally

entitled, and as a result of being supplied misleading information. This injury also
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created a material risk of financial harm that Congress intended to prevent by

enacting the FDCPA – to wit, that Plaintiff, influenced by misleading information,

might make payment decisions that he might not have made had he been given only

truthful information.

      30.      The acts and omissions of Defendant described above injured Plaintiff

Knapton and the class members in a particularized way, in that PBCM was

obligated by the FDCPA to supply non-misleading information to Plaintiffs

specifically, by virtue of the fact that PBCM was attempting to collect a debt from

Plaintiff. Moreover, PBCM was obligated by 15 USC §1692e to supply accurate

disclosures of the right to dispute a debt, not to the public at large, but to Plaintiffs

specifically. Further, PBCM was obligated by 15 USC §1692c(a)(2) to cease

communicating with Plaintiffs upon obtaining any notice that they were

represented.

       31.     The debts that Defendant sought to collect from Plaintiff Knapton and

the class members were originally incurred for personal, family, or household

purposes.

                            V. Class Allegations

      32.      Plaintiff restates, realleges and incorporates herein by reference all

foregoing paragraphs as if set forth fully in this Count.

      33.      Under Rule 23 of the Federal Rules of Civil Procedure, Plaintiff

Knapton brings this action for herself and on behalf of a class initially defined as

follows:
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             All natural persons who, according to PBCM’s records,
             have a Virginia address, who are similarly situated to
             Plaintiff in that, within one year of the commencement of
             this action and continuing to the date that an order is
             entered certifying this class, PBCM sent them a letter in
             a form substantially similar or materially identical to
             Exhibit A,, and which was mailed to an address in
             Virginia.

      34.    The proposed Class is so numerous that joinder of all members would

be impracticable. Plaintiff does not know the size of the class, although this

information is known by the defendant and is readily ascertainable in discovery.

Based upon information readily available concerning the defendant, the size of its

operation, and its specialization in the collection of student loans, Plaintiff

estimates and accordingly alleges that there are hundreds and, in all probability,

thousands of individuals in the class.

      35.    There is a community of interest among the members of the proposed

Class in that there are questions of law and fact common to the proposed Class that

predominate over questions affecting only individual members.

      36.    Plaintiff’s claims are typical of those of the Class that she seeks to

represent. In addition, Plaintiff is entitled to relief under the same causes of action

as the other members of the putative class.

      37.    Plaintiff is represented by counsel competent and experienced in both

consumer protection specific to student loans, and class action litigation, and she

has no conflicts with the members of the Class.

      38.    The common questions of law and fact predominate over any

individual questions, in that the letters are form letters, and any individual
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questions are subordinate to the common questions of whether PBCM violated the

FDCPA by misrepresenting the class members’ rights.

      39.    A class action is superior to other methods for the fair and efficient

adjudication of the controversy. Because the damages suffered by individual class

members are relatively small compared to the expense and burden of litigation, it

would be impractical and economically unfeasible for class members to seek redress

individually. The prosecution of separate actions by the individual class members,

even if possible or likely, would create a risk of inconsistent or varying

adjudications with respect to the claims asserted by individual class members and

could create incompatible standards of conduct for the defendants. Moreover,

because most class members are unaware of their rights under 15 U.S.C. §1692c to

notify the debt collector orally if they are represented by counsel; or how to

determine if a debt collector is affiliated with a State government; or of the fact that

the account balance stated often changes due to interest charges, they are unlikely

to bring an independent action, and a class action is the only way that these

violations can be rectified.

      40.    Injunctive relief is appropriate for the Class, under Fed. R. Civ. P.

23(b)(2). Class certification is appropriate because Defendant has acted on grounds

generally applicable to the Class, making appropriate equitable injunctive relief

with respect to Plaintiff Knapton and the Class members.

                                VI. Claims for Relief
                               First Cause of Action
                  Claims for Violations of 15 U.S.C. § 1692, et seq.
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      41.    Plaintiff restates, realleges, and incorporates herein by reference all

foregoing paragraphs as if set forth fully in this Count.

      42.    Collection letters, such as those sent by Defendant, are to be evaluated

by the objective standard of the hypothetical “least sophisticated consumer.”

      43.    Section 1692c of the FDCPA requires that when a debt collector knows

the consumer is represented by an attorney with respect to such debt, and has

knowledge of, or can readily ascertain, such attorney’s name and address, unless

the attorney fails to respond within a reasonable period of time to a communication

from the debt collector or unless the attorney consents to direct communication with

the consumer, the debt collector may not communicate with the consumer directly.

      44.    Section 1692e of the FDCPA prohibits a debt collector from using any

false, deceptive, or misleading representations in connection with the collection of

any debt. Specifically, FDCPA §1692e(1) prohibits the debt collector from making a

false implication that they are affiliated with any State. FDCPA §1692e(9)

prohibits the use of any written communication which creates a false impression of

its source, authorization or approval. FDCPA § 1692e(2)(A) states that a debt

collector cannot make a “false representation of the character, amount, or legal

status of any debt.” FDCPA § 1692e(10) prohibits “[t]he use of any false

representation or deceptive means to collect or attempt to collect any debt or to

obtain information concerning a consumer.”

      45.    In other words, PBCM violated the FDCPA as follows:

             A.     PBCM falsely represented to consumers that they needed to
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                     provide written notice of attorney representation, in a form and
                     manner designated by PBCM

             B.      PBCM falsely implied their affiliation with and approval by the
                     government of the State of Maryland.

             C.      PBCM falsely represented the amount or legal status of
                     Plaintiffs’ debts; and

             D.      PBCM used a false representation or deceptive means to collect
                     or attempt to collect a debt

      D.     PBCM used unfair and unconscionable means to collect and attempt to

      collect from Plaintiff and the class members.

      46.    PBCM’s violations in turn violate specific enumerated sections of the

FDCPA, as follows:

             A.      It falsely represented to consumers that they needed to provide
                     written notice of attorney representation, in a form and manner
                     designated by PBCM, in violation of 15 U.S.C. §§ 1692c and
                     1692e(10).

             B.      It falsely implied its affiliation with and approval by the State
                     of Maryland, in violation of 15 U.S.C. §1692e, 1692e(1), 1692e(9)
                     and 1692e(10).

             C.      It falsely represented the amount or legal status of Plaintiffs’
                     debts by failing to disclose that the amounts it was seeking were
                     subject to change, in violation of 15 U.S.C. §1692e, 1692e(2)(A)
                     and 1692e(10).


      47.    Plaintiff Knapton and the class members have suffered concrete,

particularized harms to legally protected interests because PBCM’s false, deceptive,

and misleading representations, as set forth above, could detrimentally affect

Plaintiffs’ decision-making with respect to their alleged debts.

      48.    Under 15 U.S.C. § 1692k, PBCM is liable to Plaintiff and the Class
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Members to whom it sent the letter.



                               Demand for Jury Trial

      49.    Plaintiff demands trial by jury on all claims and all issues.

                                  Prayer for Relief

      WHEREFORE, Plaintiff Renee Knapton prays that this Court grant the

following relief in her favor, and on behalf of the class, and that judgment be

entered against Defendant for the following:

             (A)    Statutory damages as provided by § 1692k(a)(2) of
                    the FDCPA;

             (B)    Attorneys’ fees, litigation expenses and costs;

             (C)    A declaration that Defendants’ form letters,
                    represented by the form sent to the Plaintiff, a copy
                    of which is attached to this Complaint, violate the
                    FDCPA; and

             (D)    Any other relief that this Court deems appropriate
                    under the circumstances.



                                        PLAINTIFF,
                                        RENEE KNAPTON,
                                        Individually And On Behalf Of The Class,

                                        /s/ Thomas R. Breeden
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